350 F.2d 949
    Charles H. HENRIKSON and Oliver Henrikson, Appellants,v.Stewart L. UDALL, United States Secretary of the Interior,The United Statesof America, and George Steed,District Ranger, United StatesDepartment ofAgricultureForest Service, Appellees.
    No. 19560.
    United States Court of Appeals Ninth Circuit.
    Sept. 15, 1965, Rehearing Denied Oct. 28, 1965.
    
      Vernon Vale, Nagle, Vale &amp; McDowall, San Mateo, Cal., for appellants.
      Edwin L. Weisl, Jr., Asst. Atty. Gen., S. Billingsley Hill and Robert M. Perry, Attys., Dept. of Justice, Washington, D.C., Cecil F. Poole, U.S. Atty., J. Harold Weise, Asst. U.S. Atty., San Francisco, Cal., for appellees.
      Before CHAMBERS, BASTIAN and KOELSCH, Circuit Judges.
      PER CURIAM.
    
    
      1
      This is an appeal from a grant of summary judgment by the United States District Court, Northern District of California, the effect of which was to uphold appellees' decision denying appellants' application for a land patent in the Tahoe National Forest.
    
    
      2
      It is the function of neither this Court nor of the District Court, in a proceeding such as this, to weigh the evidence adduced in the administrative proceeding.  Rather, if upon review of the entire record of that proceeding there is found substantial evidence to support the Secretary's decision, that decision must be affirmed.  Universal Camera Corp. v. N.L.R.B.,340 U.S. 474, 71 S.Ct. 456, 95 L.Ed. 456 (1951); Foster v. Seaton, 106 U.S.App.D.C. 253, 271 F.2d 836 (1959).
    
    
      3
      We are satisfied, as was the District Court, that the decision of the Secretary is supported by substantial evidence.  The opinion of Chief Judge Harris (229 F.Supp. 510 (1964)) reviews the evidence in some detail; and we find no fault with the grant of summary judgment.
    
    
      4
      Accordingly, the judgment of the District Court is
    
    
      5
      Affirmed.
    
    